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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NORTH DAKOTA
                               EASTERN DIVISION

United States of America,
                                                      NOTICE OF INTENT
                            Plaintiff,                     TO APPEAL
                                                      Case No.: 3:22-CR-10-01
      vs.

Macalla Lee Knott,

                            Defendant.

       Notice is hereby given that Macalla Lee Knott appeals to the United States Court of

Appeals for the Eighth Circuit from the Judgment in a Criminal Case entered in this action on

January 3, 2025.

       Dated this :HGQHVGD\, January 15, 2025.



       Respectfully submitted,




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                                                  MARTINEZ  EZ LAW PLL    LC
                                                                       PLLC
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